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 14
 15
 16
 17                  IN THE UNITED STATES DISTRICT COURT
 18               FOR THE CENTRAL DISTRICT OF CALIFORNIA
 19
      MONSTER ENERGY COMPANY,            )   Case No. 5:17-CV-00548-CBM-RAO
 20
      a Delaware corporation,            )
                                         )   MONSTER ENERGY
 21
                  Plaintiff,             )   COMPANY’S TRIAL BRIEF
                                         )
 22
            v.                           )   Trial:
                                         )   Date: October 30, 2018
 23
      INTEGRATED SUPPLY                  )   Time: 8:00 a.m.
      NETWORK, LLC, a Florida limited    )   Ctrm: 8B
 24
      liability company,                 )
                                         )
 25                                      )   Hon. Consuelo B. Marshall
                  Defendant.             )
 26
 27
 28
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  1         Plaintiff Monster Energy Company (“Monster”) hereby submits this Trial
  2   Brief. Pursuant to Local Rule 16-10, this Trial Brief responds to Defendant
  3   Integrated Supply Network’s (“ISN”) Memorandum of Contentions of Fact and
  4   Law (Dkt. No. 268). It also addresses new issues that arose after service of the
  5   parties’ Memoranda of Contentions that are relevant for trial.
  6                 I. MONSTER’S CLAIMS OF INFRINGEMENT
  7   A.    ISN Misunderstands The Nature Of Monster’s Trademark Rights
  8         ISN attempts to minimize the scope of Monster’s trademark rights by
  9   dismissing Monster’s trademark registrations as too recent, or as covering goods
 10   other than tools. Dkt. No. 268 at 20-21. ISN seems to believe that Monster’s
 11   trademark registrations somehow define, and therefore limit, the scope of
 12   Monster’s trademark rights, just as patents define and limit the scope of an
 13   inventor’s rights. Id. This view is reflected on ISN’s proposed Verdict Form, in
 14   which ISN would ask the jury to decide whether each of Monster’s individual
 15   trademark registrations have been infringed. ISN has even included a list of the
 16   registrations in the Preliminary Jury Instructions.
 17         ISN fundamentally misunderstands the nature of trademark rights. “It is
 18   elementary that a trade-mark right is not acquired by registration. A right to a
 19   trade-mark stems from prior appropriation and use.”              Tillamook County
 20   Creamery Ass’n v. Tillamook Cheese and Dairy Ass’n, 345 F.2d 158, 160 (9th
 21   Cir. 1965). As Professor McCarthy summarized the matter: “It is not federal
 22   registration, but use of a designation as a mark that creates trademark rights in a
 23   designation.” J.T. McCarthy, McCarthy on Trademarks & Unfair Competition
 24   § 16:18 (5th ed. 2017).
 25         Unlike the registration of a patent, a trademark registration of itself
            does not create the underlying right to exclude. Nor is a
 26         trademark created by registration. While federal registration triggers
 27         certain substantive and procedural rights, the absence of federal
            registration does not unleash the mark to public use. The Lanham
 28         Act protects unregistered marks as does the common law.
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  1   Id. § 19:3 (quoting San Juan Products, Inc. v. San Juan Pools of Kansas, Inc.,
  2   849 F.2d 468, 474 (10th Cir. 1988) (emphasis in original)).
  3         Thus, Monster’s registrations in no way define or limit the scope of
  4   Monster’s underlying trademark rights. “Even if a registration is cancelled, the
  5   underlying common law rights in a mark continue.” Id. § 16:18. Accordingly,
  6   the issue to be decided by the jury in this case is whether Monster’s underlying
  7   trademark rights have been infringed. It makes no sense to ask the jury, as ISN
  8   would, whether individual registrations have been infringed.              Those
  9   registrations do not confer trademark rights on Monster; they confer only certain
 10   additional benefits, such as the presumption of validity. 15 U.S.C. § 1057(b).
 11   Instead, the jury should be asked whether Monster’s underlying “Monster” and
 12   “Beast” trademarks have been infringed. Monster’s proposed Verdict Form
 13   does this, and ISN’s proposed Verdict Form does not.
 14   B.    ISN Misunderstands How Monster Acquired Common Law Rights
 15         In Its Monster™ Trademark
 16         ISN asserts that Monster has no common law trademark rights in the
 17   Monster™ trademark because of Monster’s alleged “failure to use ‘monster’ on
 18   its own as a trademark.” Dkt. No. 268 at 34. ISN seems to believe that Monster
 19   must have used its Monster™ trademark in isolation, separate from any other
 20   words, in order to acquire rights in that trademark. That is, ISN contends that
 21   Monster’s use of its other Monster-based trademarks, like Monster Energy®,
 22   cannot create rights in the trademark Monster™. Id. ISN is again wrong as a
 23   matter of law.
 24         It has long been the law that the owner of a composite mark – a mark
 25   consisting of more than just one word – may acquire rights in a portion of that
 26   mark. As Professor McCarthy has explained, rights to a portion of a composite
 27   mark are acquired whenever that portion creates a “separate commercial
 28   impression” among consumers, so that consumers recognize it as an indicator of
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  1   the source of the goods. J.T. McCarthy, McCarthy on Trademarks & Unfair
  2   Competition § 19:59 (5th ed. 2017). “It all boils down to a judgment as to
  3   whether that designation for which registration is sought comprises a separate
  4   and distinct ‘trademark’ in and of itself.” Institut Nat. Des Appellations
  5   D’Origine v. Vintners Intern. Co., Inc., 958 F.2d 1574, 1582 (Fed. Cir. 1992).
  6   Similarly, as the Trademark Office’s Trademark Trial and Appeal Board
  7   explained it:
  8         It is well established that one may use a composite mark in
            connection with a product and register separately its several
  9         elements if each element is used in such a manner as to create a
 10         separate and distinct commercial impression from the other
            elements and does in fact, per se, identify and distinguish this
 11         product from the products of others.
 12   In re Berg Elecs., Inc., 163 U.S.P.Q. 487, 487 (T.T.A.B. 1969).
 13         The seminal case in this area is Application of Servel, Inc., 181 F.2d 192
 14   (C.C.P.A. 1950). There, the trademark applicant published a newsletter under
 15   the name “Servel Inklings,” and sought to register “Servel” alone as its
 16   trademark.      Id. at 192.   The court reversed the Commissioner’s refusal to
 17   register the trademark. Id. at 196. The court held that “the word ‘Servel’ here
 18   involved clearly distinguishes appellant’s publication from others of the same
 19   class.” Id. Accordingly, the court held that the publisher had rights in the mark
 20   “Servel” alone and ordered registration.         Id.   ISN offers no reason why
 21   Monster™ and Monster Energy® should be treated any differently than Servel
 22   and Servel Inklings.
 23         ISN’s misunderstanding of the law is also reflected in the parties’
 24   proposed Jury Instructions.      Monster has proposed a Jury Instruction that
 25   explains that a party acquires trademark rights in a portion of a composite
 26   trademark when that portion creates its own separate commercial impression.
 27   ISN proposes deleting this instruction in its entirety, offering no substitute at all.
 28   ///
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  1   C.    Monster Is Not Required To Prove That Its Trademarks Have
  2         Acquired Secondary Meaning Specifically In Connection With Tools
  3         ISN argues that Monster’s trademarks have not acquired secondary
  4   meaning in connection with tools. Dkt. No. 268 at 34. ISN implies that this
  5   somehow defeats Monster’s infringement claims.         Id.    However, the Ninth
  6   Circuit has expressly rejected the argument that a trademark must acquire
  7   secondary meaning in connection with the infringer’s goods in order for the
  8   trademark owner to bring an infringement claim:
  9         Although the validity of a registered mark extends only to the
 10         listed goods or services, an owner’s remedies against confusion
            with its valid mark are not so circumscribed. The language of the
 11         infringement statute, 15 U.S.C. § 1114, does not limit remedies for
            allegedly infringing uses to those goods within the ambit of
 12         registration:
 13
                  Any person who shall, without the consent of the
 14               registrant ... (a) use in commerce any reproduction,
 15               counterfeit, copy, or colorable imitation of a registered
                  mark in connection with the sale, offering for sale,
 16               distribution, or advertising of any goods or services on
 17               or in connection with which such use is likely to cause
                  confusion, or to cause mistake, or to deceive ... shall be
 18               liable in a civil action by the registrant for the remedies
 19               hereinafter provided.

 20         15 U.S.C. § 1114(1) (emphasis added). Thus a trademark owner
            may seek redress if another’s use of the mark on different goods or
 21         services is likely to cause confusion with the owner's use of the
            mark in connection with its registered goods.
 22
 23   Applied Information Sciences Corp. v. eBay, Inc., 511 F.3d 966, 971 (9th Cir.
 24   2007) (emphasis in original). Thus, as long as Monster’s asserted marks have
 25   secondary meaning in connection with some goods or services, Monster
 26   isentitled to prevent others from using confusingly similar marks in connection
 27   with any goods or services if consumer confusion is likely.
 28   ///
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  1   D.    The Jury Should Be Instructed To Assess Infringement By Analyzing
  2         All Of The Sleekcraft Factors
  3         The Pretrial Conference Order expressly states that the eight “Sleekcraft”1
  4   factors govern whether a likelihood of confusion exists for trademark and trade
  5   dress infringement claims. Dkt. No. 322 at 15 (citing Ninth Circuit Model Civil
  6   Jury Instructions §15.18). In addition, the parties have jointly submitted a Jury
  7   Instruction setting forth the Sleekcraft factors.     Thus, there appears to be
  8   agreement that these factors govern in this case.
  9         Nevertheless, in its Memorandum of Contentions, ISN has renewed its
 10   assertion that an analysis of the Sleekcraft factors is unnecessary because the
 11   parties’ goods are allegedly unrelated. Dkt. No. 268 at 40. This argument is
 12   entirely without merit.2 The relatedness of the goods is only one of many
 13   factors that the jury is to consider in deciding whether there is a likelihood of
 14   confusion. See Sleekcraft Boats, 599 F.2d at 348-49. The Ninth Circuit has
 15   squarely held that no single Sleekcraft factor is dispositive. Jada Toys, Inc. v.
 16   Mattel, Inc., 518 F.3d 628, 632-33 (9th Cir. 2008).
 17         Consistent with this holding, the courts have routinely found that
 18   confusion is likely where the goods, at first blush, appear to be unrelated, but
 19   other evidence established that confusion was likely. See, e.g., Wells Fargo &
 20   Co. v. Wells Fargo Const. Co., 619 F. Supp. 710, 712-13 (D. Ariz. 1985)
 21   (enjoining the “Wells Fargo” construction company); Tiffany & Co. v. Parfums
 22   Lamborghini, 214 U.S.P.Q. 77, 1981 WL 48170 at *1-*2 (S.D.N.Y. Feb. 9,
 23   1981) (enjoining “Tiffany” perfume); John Walker & Sons, Limited v. Bethea,
 24
 25         1
                AMF, Inc. v. Sleekcraft Boats, 599 F.2d 341, 348-49 (9th Cir. 1979).
 26         2
              This argument also ignores that ISN sells and has sold many other goods
 27   that cannot possibly be described as tools, e.g., beef jerky, water bottles,
      clothing, hats.
 28
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   1   305 F. Supp. 1302 (D.S.C. 1969) (enjoining “Johnnie Walker” motels); Ford
   2   Motor Co. v. Ford Insecticide Corp., 69 F. Supp. 935, 936-38 (E.D. Mich.
   3   1947) (enjoining “Ford” insecticide). See also J.T. McCarthy, McCarthy on
   4   Trademarks & Unfair Competition § 24:49 (5th ed. 2017) (“Where strong and
   5   well-known marks are used by others, the scope of protection may extend far to
   6   other product fields.”) If this were not the case, ISN could offer “Coca-Cola”
   7   tools or “Burger King” tools with impunity.
   8   E.    ISN Mistates The Elements Of Common Law Unfair Competition
   9         ISN asserts that to prove common law unfair competition, Monster must
  10   prove trademark or trade dress infringement plus two additional elements:
  11         1.     That ISN’s conduct amounts to passing off; and
  12         2.     That Monster suffered a competitive injury as a result of ISN’s
  13                actions.
  14   Dkt. No. 268 at 10.
  15         ISN is wrong as a matter of law. First, the Final Pretrial Conference
  16   Order, which controls this case, makes no mention of these two additional
  17   elements.    Dkt. No. 322 at 16.        Second, as ISN concedes later in its
  18   Memorandum of Contentions: “The Ninth Circuit ‘has consistently held that
  19   state common law claims of unfair competition and actions pursuant to
  20   California Business and Professions Code § 17200 are substantially congruent
  21   to claims made under the Lanham Act.’” Id. at 42 (quoting Cleary v. News
  22   Corp., 30 F.3d 1255, 1262-63 (9th Cir. 1994)).           “Proof of trademark
  23   infringement under the Lanham Act independently constitutes unfair
  24   competition under California law.” Philip Morris USA Inc. v. Liu, 489 F. Supp.
  25   2d 1119, 1123 (C.D. Cal. 2007). Thus, the two extra elements proposed by ISN
  26   are flatly inconsistent with Ninth Circuit law.
  27   ///
  28   ///
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   1   F.    A Reasonable Royalty Award Is Not Speculative
   2         ISN appears to argue that Monster Energy cannot prove that it has lost
   3   sales due to ISN’s infringement and that, as a result, a reasonable royalty award
   4   in this case would be “speculative.” Dkt. No. 268 at 42. Contrary to ISN’s
   5   argument, Monster is not required to prove it has suffered lost sales to recover a
   6   reasonable royalty. See, e.g., QS Wholesale, Inc. v. Rox Volleyball, Inc., No.
   7   SACV130512AGJPRX, 2015 WL 4484219, at *5-*6 (C.D. Cal. July 19, 2015)
   8   (rejecting argument that royalty damages were speculative where plaintiff
   9   allegedly failed to provide evidence of monetary loss); Active Sports Lifestyle
  10   USA v. Old Navy, No. SACV1200572JVSEX, 2013 WL 11239385 at *17-*18
  11   (C.D. Cal. Nov. 21, 2013) (“To the extent that Old Navy argues that Plaintiff
  12   must establish its actual lost profits as a result of Old Navy's use of the “Active”
  13   mark, Old Navy ignores the well-established principle that a reasonable royalty
  14   is a permissible measure of damages in a trademark case.”); Adidas America v.
  15   Payless Shoesource, No. CV 01-1655-KI, 2008 WL 4279812 at *12 (D. Or.
  16   Sept. 12, 2008) (noting that royalty damages can be “a surrogate measure” of
  17   “theoretical damage” to the marks and upholding royalty award where there was
  18   no evidence of monetary loss in the nature of lost sales).
  19                      II. ISN’S AFFIRMATIVE DEFENSES
  20   A.    ISN’s Invalidity Defenses Are Limited
  21         ISN has been less than clear as to which defenses it is asserting against
  22   which trademarks and registrations. Monster is using this opportunity to clarify
  23   which defenses are properly left for decision.
  24         1.     Monster’s Incontestable Registrations
  25         In its Opposition to Monster’s Motion for Summary Judgment, ISN
  26   unequivocally conceded that it “has not asserted that MEC’s incontestable
  27   registrations are invalid.” Dkt. No. 108 at 10:20-21. The Court then granted in
  28   part Monster’s summary judgment motion. The Court ruled that, “at trial,
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   1   Defendant cannot assert the affirmative defense that these incontestable
   2   registrations are invalid.”    Dkt. No. 201 at 3:17-19.3            Accordingly, those
   3   registrations are not subject to any invalidity defense at trial.
   4         2.     Monster’s Other Registrations
   5                a.     Marks Containing The Word “Monster”
   6         In response to Monster’s Motion for Summary Judgment, the Court has
   7   permitted ISN to challenge the validity of Monster’s contestable registrations
   8   containing the word “Monster.” The Court held that a “trier of fact could
   9   reasonably conclude that Plaintiff’s ‘monster energy’ marks are descriptive
  10   because they describe the attributes of Plaintiff’s beverage products.” Dkt. No.
  11   201 at 4:2-4. In its subsequent Memorandum of Contentions, ISN identified
  12   only a single registered trademark whose validity it will be challenging –
  13   MONSTER ENERGY®.              Dkt. No. 268 at 33:13-24. ISN re-affirmed this
  14   defense in the Pretrial Conference Order. Dkt. 322 at 27:4-12. But ISN has not
  15   reconciled that defense with the fact that Monster has four asserted
  16   incontestable registrations for MONSTER ENERGY® that ISN is prohibited
  17   from challenging. Dkt. No. 201 at 3:17-19.
  18         The only contestable registration for MONSTER ENERGY® is U.S.
  19   Trademark Reg. No. 4,721,433. This registration is for “promoting goods and
  20   services in the sports, motorsports, electronic sports, and music industries …
  21   [and] promoting sports and music events and competitions for others.” Dkt. No.
  22   1, Ex. A1. However, ISN has never asserted that the MONSTER ENERGY®
  23   ///
  24
  25         3
              The incontestable registrations at issue are Registration Nos. 2,769,364,
  26   3,044,314, 3,044,315, 3,057,061, 3,134,841, 3,134,842, 3,740,050, 3,908,600,
       3,908,601, 3,914,828, 4,036,680, and 4,036,681.
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   1   trademark is somehow descriptive of those services. Nor could it. Such a
   2   contention would be facially absurd.4
   3                b.    Marks Containing The Word “Beast”
   4         This Court has held that ISN cannot attack Monster’s marks that include
   5   the word Beast. Dkt. 201 at 4:15-5:2. The Court specifically found that “the
   6   trier of fact could not reasonably conclude that the ‘beast’ marks . . . are
   7   descriptive, and that secondary meaning is required as to those marks.” Id. at
   8   4:20-5:2.5 Thus, ISN is not challenging any of the beast marks at trial.
   9         3.     Monster’s Unregistered Common Law Monster Mark
  10         ISN has raised only a single affirmative defense to Monster’s common
  11   law rights in the word Monster -- abandonment. Dkt. 322 at 28:27-29:12. It
  12   also argues that Monster cannot prove that the unregistered Monster mark is not
  13   descriptive or has acquired secondary meaning. Id. at 27:13-25.
  14         4.     Monster’s Trade Dress Rights
  15         ISN has no affirmative defense to Monster’s trade dress claim, but merely
  16   argues that Monster cannot prove that the trade dress is non-functional, is not
  17   descriptive or has acquired secondary meaning. It appears from ISN’s filed
  18   Verdict Form that it is now trying to pursue an abandonment defense to
  19   Monster’s trade dress claim. Dkt 377, Question No. 17. However, that issue
  20   was not previously raised and thus does not appear in the Pretrial Conference
  21   Order as an issue for trial. ISN’s abandonment defense was limited to the
  22   unregistered Monster trademark.
  23
  24
  25         4
              The Court has also precluded ISN from attacking this registration on
  26   grounds that the recital of services is somehow deficient. Dkt. 201 at 6:12-7:5.
             5
  27           The Court did find a genuine issue as to one “beast” mark, but that mark
       is no longer at issue in this case. Dkt. 201 at 4:19-5:1.
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   1   B.    ISN Badly Misstates The Elements Of Laches
   2         ISN asserts that to prove its defense of laches to the Court,6 it need only
   3   show when Monster’s claims accrued and that these claims were filed outside of
   4   the statute of limitations period. Dkt. No. 268 at 32. ISN is wrong as a matter
   5   of law.
   6         First and foremost, ISN completely omits the element of prejudice.
   7   Prejudice is an essential element of any laches defenses. Internet Specialties W.,
   8   Inc. v. Milon-DiGiorgio Enterprises, Inc., 559 F.3d 985, 990 (9th Cir. 2009).
   9   ISN has no evidence of prejudice, and the evidence shows an absence of
  10   prejudice. Specifically, in February 2014, Monster sent ISN a cease-and-desist
  11   letter alerting it to Monster’s objections. In October 2014, Monster sent a
  12   second cease-and-desist letter to ISN. In February 2016, Monster sent ISN a
  13   third cease-and-desist letter. However, ISN continued to infringe, and in fact,
  14   moved closer to Monster’s marks and goods and services. Thus, ISN took the
  15   calculated gamble to proceed with its infringement. Under these circumstances,
  16   ISN cannot claim prejudice.
  17         Second, ISN cannot prove that Monster filed its claims outside the
  18   analogous four-year California state law statute of limitations period. ISN’s
  19   first Monster-related trademark application published on December 17, 2013.
  20   There is no evidence that Monster knew or should have known of ISN’s
  21   infringing activities before that date. Monster filed the present action on March
  22   22, 2017, well within the four-year statute of limitations that ISN contends
  23   governs.
  24
  25
             6
                In a set of proposed jury instructions served on October 8, 2018, ISN is
  26
       still asking to have the jury, rather than the Court decide the issue of laches. But
  27   on October 3, this Court ruled at the Pretrial Conference that laches is an issue
       for the Court alone. Ex. A at 75-81.
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   1         Third, ISN’s infringement has been non-static and involves multiple
   2   marks and products. For example, ISN did not begin to use its FEED THE
   3   BEAST mark until November 2014. In 2016, ISN began using a new stylized
   4   MONSTER mark. In 2017, ISN began selling new water bottles under its
   5   MONSTER mark. And in 2018, ISN launched mini refrigerators under its
   6   MONSTER mark. Monster clearly did not delay in bringing suit to stop these
   7   infringing activities.
   8         Fourth, Monster had also been very actively engaged in adversarial
   9   proceedings in the TTAB against ISN from June through October 2014 and
  10   from July, 2015 to March 2017, when Monster filed its complaint. Monster’s
  11   activity against ISN before the TTAB tolls any delay for laches purposes.
  12   Gaudreau v. American Promotional Events, Inc., 511 F.Supp.2d 152, 159
  13   (D.D.C. 2007) (collecting cases); see also 6 J. T. McCarthy, McCarthy on
  14   Trademarks & Unfair Competition § 31:16 (5th ed. 2017) (“The filing of an
  15   opposition proceeding against an alleged infringer's pending registration will
  16   generally constitute a sufficient reason for waiting to file an infringement suit in
  17   federal court. That is, the opposer can wait for the outcome of the opposition
  18   proceeding before deciding whether to file an infringement suit in federal
  19   court.”).
  20         Finally, at the October 3, 2018 Pretrial Conference, the Court rejected
  21   ISN’s request to present its equitable laches defense to the jury. Ex. A at 75-81.
  22   Accordingly, much of the evidence relevant to laches should not be presented to
  23   the jury by either party. However, the Court of course will need a full record to
  24   decide this defense. Accordingly, Monster requests an opportunity to augment
  25   the record after the jury trial to present evidence in rebuttal to ISN’s laches
  26   defense. The Court then may decide the laches defense based upon a full
  27   record.
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   1                 III. THE PROPOSED JURY VERDICT FORMS
   2   A.    Monster Energy’s Proposed Verdict Form Is Simple And Should Be
   3         Adopted
   4         Monster Energy prepared its proposed Jury Verdict Form with the goals
   5   of simplicity and minimizing the burden on the jurors.         Monster Energy’s
   6   proposed Verdict Form includes just 10 questions, each of which calls for a
   7   single “Yes” or “No” answer or the entry of a single dollar amount.
   8         Question 1 asks the jury: “Does the preponderance of the evidence show
   9   that ISN infringed Monster Energy’s trademark rights in at least one of its
  10   registered marks that include the word ‘Monster’?”         This question groups
  11   together all of Monster Energy’s trademarks that include the word “Monster.”
  12   This significantly simplifies the case for the jurors. Moreover, nothing is lost by
  13   asking the jurors a single question about all of the Monster-based trademarks.
  14   Monster Energy is entitled to the same remedies regardless of which Monster-
  15   based trademarks, or how many Monster-based trademarks, are infringed.
  16         Question 2 asks the jury: “Does the preponderance of the evidence show
  17   that ISN infringed Monster Energy’s trademark rights in the unregistered mark
  18   ‘Monster’?” This question is directly solely to the unregistered “Monster™”
  19   trademark because ISN has a separate defense directed solely to this mark – its
  20   abandonment defense.       A separate question directed to the unregistered
  21   “Monster™” trademark is thus necessary to ensure that this trademark plays no
  22   role in the jury’s determinations of liability and damages if the jury concludes
  23   that ISN has proven its abandonment defense.
  24         Question 3 asks the jury whether ISN has proven abandonment of the
  25   “Monster™” trademark by clear and convincing evidence. This question is
  26   necessary for the reasons just explained. The clear and convincing standard is
  27   appropriate because the overwhelming majority of courts, including courts
  28   within the Ninth Circuit, apply the clear and convincing standard.             J.T.
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   1   McCarthy, McCarthy on Trademarks & Unfair Competition § 17:12 (5th ed.
   2   2017); Cash Processing Services v. Ambient Entertainment, 418 F. Supp. 2d
   3   1227, 1232 (D. Nev. 2006).       See also Prudential Ins. Co. of America v.
   4   Gibraltar Financial Corp. of California, 694 F.2d 1150, 1156 (9th Cir. 1982)
   5   (“Abandonment of a trademark, being in the nature of a forfeiture, must be
   6   strictly proved.”).
   7         Question 4 asks the jury: “Does the preponderance of the evidence show
   8   that ISN infringed Monster Energy’s trademark rights in at least one of its
   9   marks that include the word ‘Beast’?” Monster Energy has combined its several
  10   “Beast” marks together for the reasons explained above in connection with
  11   Question 1. However, the proposed Verdict Form includes separate questions
  12   regarding the “Monster” marks and the “Beast” marks because different conduct
  13   of ISN is at issue for these two sets of marks. Monster Energy alleges that ISN
  14   infringed the “Monster” marks through its use of its own “Monster” and
  15   “Monster Mobile” marks.      Monster Energy alleges that ISN infringed the
  16   “Beast” marks through its use of its “Feed the Beast” mark.          Thus, the
  17   appropriate scope of injunctive relief may depend upon whether the jury finds
  18   infringement of the “Monster” marks, the “Beast” marks, both, or neither.
  19         Question 5 is the final question on liability. It asks the jury: “Does the
  20   preponderance of the evidence show that ISN infringed Monster Energy’s trade
  21   dress that includes the word ‘Monster’ with the colors green and black?” As
  22   with Question 4, Question 5 is necessary because the appropriate scope of
  23   injunctive relief will depend upon whether the jury finds that ISN has infringed
  24   Monster’s trade dress.
  25         Monster Energy notes that there are no separate questions on the Verdict
  26   Form for liability or compensatory damages for statutory or common law unfair
  27   competition. This is because the elements of unfair competition are identical to
  28   the elements of Monster Energy’s infringement claims. The Ninth Circuit “has
                                            -13-
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   1   consistently held that state common law claims of unfair competition and
   2   actions pursuant to California Business and Professions Code § 17200 are
   3   substantially congruent to claims made under the Lanham Act.” Cleary, 30
   4   F.3d at 1262-63. “Proof of trademark infringement under the Lanham Act
   5   independently constitutes unfair competition under California law.”        Philip
   6   Morris, 489 F. Supp. 2d at 1123.
   7         Accordingly, no purpose would be served by burdening the jurors with
   8   separate questions on statutory and common law unfair competition. If the
   9   jurors find trademark or trade dress infringement, the Court can conclude with
  10   certainty that the jurors also found unfair competition. Conversely, if the jurors
  11   find no infringement, the Court can conclude with certainty that the jurors also
  12   found no unfair competition.
  13         Questions 6-10 are directed toward the monetary remedies that Monster
  14   Energy seeks. Specifically, Question 6 asks the jurors “does a preponderance of
  15   the evidence show that ISN’s infringement was willful?”         Willfulness is a
  16   predicate to disgorgement of ISN’s profits, Stone Creek v. Omnia Italian
  17   Design, 875 F.3d 426, 442 (9th Cir. 2017), a remedy sought later on the Verdict
  18   Form in Question 8. The Verdict Form directs the jurors to address willfulness
  19   only if they have found liability for infringement of Monster Energy’s registered
  20   marks, or they have found liability for infringement of the unregistered
  21   “Monster™” mark and rejected ISN’s abandonment defense.
  22         Question 7 asks the jurors “what amount should ISN pay in damages for
  23   infringement?” Again, the Verdict Form directs the jurors to address damages
  24   only if they have found liability for infringement of Monster Energy’s registered
  25   marks, or they have found liability for infringement of the unregistered
  26   “Monster™” mark and rejected ISN’s abandonment defense.
  27         Question 8 asks the jurors “what amount of profit did ISN earn
  28   attributable to its infringement?” The Verdict Form directs the jurors to address
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   1   profits only if they have found willfulness.
   2         Question 9 asks the jurors “does clear and convincing evidence show that
   3   ISN acted with malice, oppression, or fraud?” This question is relevant to the
   4   issue of punitive damages for ISN’s alleged common law unfair competition.
   5   See Cal. Civil Code § 3294. As discussed above, the Verdict Form contains no
   6   separate question directed to liability or compensatory damages for common
   7   law unfair competition.      This is because the Verdict Form does contain
   8   questions directed to liability and compensatory damages for infringement, and
   9   Monster Energy’s claim for unfair competition rises or falls with its claim for
  10   infringement. Cleary, 30 F.3d at 1262-63; Philip Morris, 489 F. Supp. 2d at
  11   1123. The Verdict Form asks the jurors to address malice, oppression, and
  12   fraud only if the jurors have found liability.
  13         Question 10, the final question, asks the jurors “what amount should ISN
  14   pay Monster Energy in punitive damages?” The Verdict Form asks the jurors to
  15   address punitive damages only if they have found malice, oppression, or fraud
  16   in response to Question 9.
  17   B.    ISN’s Proposed Verdict Form Is Unduly Complex, Raises Issues Not
  18         Before The Court Or Jury, And Should Be Rejected
  19         ISN’s proposed Verdict Form suffers from many defects. Dkt 377. For
  20   example, Question 1 would ask the jury whether Monster Energy has proven it
  21   was “injured” in this case; while Question 2 would ask the jury whether
  22   Monster Energy’s injuries were “caused” by ISN. As Monster has explained
  23   above in its separate brief on the subject of standing, these are threshold
  24   standing questions that are to be resolved as a matter of law by the Court. In re
  25   ATM Fee Antitrust Litigation, 686 F.3d 741, 747 (9th Cir. 2012). They are not
  26   questions for the jury to resolve. Id.
  27         Questions 3 and 4 on ISN’s proposed Verdict Form are redundant.
  28   Question 3 would ask the jury whether Monster Energy has proven that “the
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   1   word ‘monster’ is a valid and protectable trademark.” Question 4 would ask the
   2   jury whether Monster Energy has proven “that it has any trademark rights in the
   3   word ‘monster’ by itself.” These two questions are essentially identical. It
   4   would serve no purpose to ask the jury the same question twice. Such an
   5   approach would only create a risk of inconsistent answers on the Verdict Form.
   6         Question 5 is also unnecessary. It would ask the jury whether Monster
   7   Energy has proven “that the mark ‘monster’ is inherently distinctive.”
   8   However, the jury will have already decided in response to Question 3 (and
   9   Question 4) whether “monster” is a valid trademark. If it is valid, there is no
  10   need to inquire whether it is valid as inherently distinctive, or is valid because it
  11   has acquired distinctiveness through secondary meaning. And if it is invalid,
  12   there is again no need to inquire as to whether it is inherently distinctive.
  13         Question 6 is similarly unnecessary. It would ask the jury whether “the
  14   word ‘monster’ has acquired secondary meaning.” Again, the jury will already
  15   have decided the validity of the “monster” trademark before reaching this
  16   question. There is simply no reason to ask the jury whether the trademark’s
  17   validity is based upon secondary meaning or inherent distinctiveness. It would
  18   serve only to burden and confuse the jury. Indeed, ISN would ask the jury four
  19   separate questions just to establish whether the “monster” trademark is valid,
  20   Questions 3 through 6. This would serve no valid purpose.
  21         Question 7 would ask the jury whether ISN has proven by a
  22   preponderance of the evidence that Monster Energy abandoned the “monster”
  23   trademark. However, as discussed above, the overwhelming weight of authority
  24   requires proof of abandonment by clear and convincing evidence.
  25         Question 8 would ask the jury for the fifth time whether the “monster”
  26   trademark is invalid, with this same question having been already asked in
  27   Questions 3-6. This redundancy serves no purpose. Question 8 may be asked,
  28   but if it is, Questions 3-6 should not be asked.
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   1         Question 9 misstates the issues before the jury. Question 9 would ask the
   2   jury whether ISN has “used the mark ‘monster’ without the consent of Monster
   3   Energy in a manner that is likely to cause confusion ….” However, the issue
   4   before the jury is whether ISN has used any mark, including the “monster
   5   mobile” mark, in a manner that is likely to cause confusion. As stated in
   6   Section 43(a) of the Lanham Act, “[a]ny person who … uses in commerce any
   7   word, term, name, symbol or device … which is likely to cause confusion …
   8   shall be liable ….” 15 U.S.C. § 1125(a)(1) (emphasis added).
   9         Question 11 is apparently ISN’s attempt to ask the jury whether each of
  10   Monster’s 20 registered trademarks have been infringed.           This question is
  11   fundamentally flawed in at least two critical ways.
  12         First, it asks whether Monster has proven that ISN used any of Monster’s
  13   registered trademarks without permission. Monster, however, has never even
  14   alleged that ISN has used any of Monster’s registered trademarks. Rather,
  15   Monster alleges that ISN has used other trademarks, like “Monster” and
  16   “Monster Mobile,” that are confusingly similar to Monster’s registered
  17   trademarks. Question 11 thus improperly invites the jury to enter a defense
  18   verdict if it reaches the undisputed conclusion that ISN has not used in haec
  19   verba any of Monster’s registered trademarks.
  20         Second, Question 11 contains a multi-page chart, with each row
  21   representing one of Monster’s trademark registrations. Question 11 would ask
  22   the jury to place a check mark in each row indicating whether or not that
  23   particular trademark registration has been infringed. As discussed above in
  24   Section I(A) of this Trial Brief, this approach reflects a fundamental
  25   misunderstanding of trademark rights. As Monster has explained, Monster’s
  26   trademark rights arise from the use of its trademarks, not its registration of those
  27   trademarks. Tillamook County Creamery, 345 F.2d at 160; J.T. McCarthy,
  28   McCarthy on Trademarks & Unfair Competition § 16:18 (5th ed. 2017).
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   1         Accordingly, the issue to be decided by the jury in this case is whether
   2   Monster’s underlying trademark rights have been infringed. It makes no sense
   3   to ask the jury, as ISN would, whether individual registrations have been
   4   infringed. Those registrations do not confer trademark rights on Monster; they
   5   confer only certain additional benefits, such as the presumption of validity. 15
   6   U.S.C. § 1057(b).        Instead, the jury should be asked whether Monster’s
   7   underlying trademarks have been infringed. Monster’s proposed Verdict Form
   8   does this, and ISN’s proposed Verdict Form does not.
   9         In Question 12, ISN misleadingly asks whether each individual
  10   registration has been willfully infringed. Question 12 is should not be asked for
  11   the same reasons explained above in connection with Question 11.
  12         Question 13 is ISN’s attempt to ask the jury whether Monster has valid
  13   trade dress rights. However, in this question, ISN has redefined Monster’s trade
  14   dress to its own liking.     According to Question 13, Monster’s trade dress
  15   “includes all of the following: (a) the word ‘Monster’; (b) a stylized font for the
  16   word ‘Monster’; (c) a dark background; (d) the ‘M-Claw’; (e) the colors green
  17   and black; and (f) an overall aggressive, edgy theme.” It appears that ISN took
  18   this definition from the complaint, but added parts it did not copy. For example,
  19   Monster has never asserted in this case that its trade dress includes the “M-
  20   Claw” logo.     That is a separately registered trademark that has its own
  21   commercial impression which Monster has not asserted here. Accordingly,
  22   ISN’s Question 13 should be rejected for the simple reason that it misidentifies
  23   Monster’s trade dress.
  24         Question 14 would ask the jury whether Monster owns its trade dress. It
  25   is unclear why ISN is proposing this question.        ISN has never challenged
  26   Monster’s ownership of its trade dress.       As discussed above, ownership is
  27   acquired through use of a trademark or trade dress in commerce. There is no
  28   question that Monster has used its trade dress in commerce, and ISN has never
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   1   argued otherwise. ISN challenges the validity of Monster’s rights, but that is
   2   the subject of Question 13. There is no need for a separate question on the
   3   undisputed issue of ownership.
   4         Question 15 is unnecessary.        It would ask the jury whether Monster
   5   Energy has proven that its trade dress “is inherently distinctive.” However, the
   6   jury will have already decided in response to Question 13 whether Monster’s
   7   trade dress is valid. If it is valid, there is no need to inquire whether it is valid
   8   as inherently distinctive, or is valid because it has acquired distinctiveness
   9   through secondary meaning. And if it is invalid, there is again no need to
  10   inquire as to whether it is inherently distinctive.
  11         Question 16 is ISN’s attempt to ask the jury about infringement of
  12   Monster’s trade dress. But ISN again misstates the issue of infringement. ISN
  13   would ask the jury whether ISN has used Monster’s trade dress. However, the
  14   correct inquiry is whether ISN has used a trade dress that is confusingly
  15   similarly to Monster’s trade dress. Question 16 thus improperly invites the jury
  16   to enter a defense verdict if it reaches the conclusion that ISN has not used an
  17   exact copy of Monster’s trade dress.
  18         Question 17 attempts to add a new abandonment defense to Monster’s
  19   trade dress claim. But as explained above, ISN has no such defense. That
  20   defense was limited to the unregistered Monster mark.
  21         Question 18 is directed to the validity of Monster’s trade dress. That
  22   question is redundant of Question 13 which already asked if Monster has a
  23   “legally protectable Trade Dress.”
  24         Question 20 would ask the jury whether Monster “waited too long” to file
  25   its claims against ISN. This question appears to be directed to the equitable
  26   defense of laches. This Court has already ruled at the Pretrial Conference that
  27   laches will not be presented to the jury. Ex. A at 75-81. In addition, this
  28   question badly misstates the elements of laches, omitting the element of
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   1   prejudice, and leaving entirely undefined what is meant by the phrase “too
   2   long.” For these reasons, this question should not be asked.
   3              Question 21 is directed to damages. It is appropriate as far as it goes.
   4   However, ISN has entirely omitted the issues of disgorgement of profits and
   5   punitive damages, which should also be presented to the jury.
   6
   7                                     Respectfully submitted,
   8                                     KNOBBE, MARTENS, OLSON & BEAR, LLP
   9
  10   Dated: October 9, 2018            By: /s/ Joseph R. Re
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